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UNITED STATES DISTRICT COURT
SOUTHERN E)ISTRICT OF NEW YORK

 

RACHEL WITLIEB BERNSTEIN, : 111ch NO.: 17-cv~9483(DAB)
ANDREA MACKRIS, and REBECCA
GOMEZ DIAMOND,

Plaintiffs,
V.

BILL O’REILLY and
FOX NEWS NETWORK LLC,

Defendants.
..“ __________________ X

 

 

PLAINTIFFS’ BRIEF IN OPP()SITION TO DEFENDANTS’
REQUES'I` 'I`() FELE COURT BOCUMENTS `UNDER SEAL

 

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POINT l
DEFENDANTS O’REILLY AND FOX NEWS HAVE NOT EVEN ATTEMPTED
TO MEET THEIR BURDEN OF SHOWING “EXTRAORDINARY
CIRCUMSTANCES” WHICH W()ULD ALLOW THE SEALING ()F
DOCUMENTS ON WHICH THEY RELY EN THEER DISPOSH`EVE MG'HONS
Defendant O’Reilly’s informal letter request, in Which defendant Fox apparently joins, to

tile under seal the documents on Which he relies in support of his motion to dismiss should be
denied outright because he has made no effort to bear his burden of proof and cited no law to
Support his extraordinary request lf the Court entertains the informal application to seal
“judicial documents,” plaintiffs request the right to file a sur-Reply brief By filing an informal

letter request devoid of legal argument or precedent, defendant has hidden his arguments ~

assuming he has some - and thereby prevented plaintiffs from responding

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DEFENDANTS IGNORE THE CONSTITUTIONALLY»GR€)UNDED
RIGHT OF THE PUBLIC TO ACCESS DOCUMENTS FILED IN COURT

Courts generally do not allow the filing of documents under seal absent extraordinary
circumstances Settlement agreements in Which the parties agree to confidentiality do not merit
filing under seal unless a compelling need is shown lmportant constitutional and common law
principles require public access to judicial documents

Court Orders to Seal documents are the exception, not the rule, even in the face of a
contractual provision for confidentiality, and “must be ‘carefully and skeptically revievv'[ed] to
insure that there really is an extraordinary circumstance or compelling need’ to seal the

documents from public inspection.” Under Seal v. Under Seal, 273 F.Supp.?)d 460, 466

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(S.D.N.Y. 2017), quoting Video Software Dealers Ass‘n v. Orion Pictures, 21 F.3d 24, 27 (2d
Cir. 1994).

The party seeking to file er keep documents under seal has the burden of showing that
sealing is Warranted. Collado v. Citv of New York, 193 F.Supp.?)d 286, 289 (S.D.N.Y.
2016)(citations omitted). The burden is a great one because public access to court documents has
been deemed essential to our democracy:

“The common law right of public access to judicial documents is firmly
rooted in our nation's history.” Lugosch v. Pvramid Co. of Onondaga, 435
Ml 10, 119 (2d Cir. 2006). A presumption of public access is essential
for judicial documents because ‘the monitoring of the judicial function is
not possible Without access to documents that are used in the performance
of Article III functions.’ Standard Inv. Chartered lnc. v. FINRA, 347
Fed.App_x. 615, 616 (2d Cir, 2009) (quotation marks and emphasis
omitted); see also Lugosch, 435 F.3d at 123 (‘ [O}nce [documents
submitted to support or oppose a motion} come to the attention of the
district judge, they can fairly be assumed to play a role in the court’s
deliberations’). 'i`lic presumption af access is ‘based on the need for
federal courts to have a measure cf accountability and for the public
to have confidence in the administration of justice.’ United States v.
Amodeo, 71 M1044, 1048 (2d Cir. 1995)[“Amodeo il”}.

 

 

Under Seal, 273 F. Supp.3d at 466 (emphasis added).

Defendants have not even attempted to meet their burden of showing extraordinary
circumstances requiring sealing

“There are two ‘related but distinct presumptions in favor of public access to court
records: a strong form rooted in the First Amendment and a slightly Weaker form based in
federai common laW.”’ ILi., at 467, quoting Nevvsdav LLC v. Cntv. of Nassau, 730 F.3d 156, 163
(2d Cir. 2013). Under either presumption, “courts must first determine Whether the document at

issue is a judicial document and once the court determines that a document is a “j udicial

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document,” it must then determine Whether the presumption of access is based on common law
or the more robust First Amendment right.” Ld., Mg L_ugM, 435 F._3d at 119-120.

A judicial document is one filed with the court that is “ relevant to the performance of the
judicial function and useful in the judicial process.” Under Seal, 273 F.Supp.3d at 467, gu_oti_l_ig
SEC v. TheStreet.comq 273 F.3d 222, 232 (2d Cir. 2001) (quotation marks omitted). Put another
Way, the presumption of the public right of access to judicial documents applies to all documents
filed with the district court, but the weight of the presumption will vary and “is a function of (1)
‘the role of the material at issue in the exercise of Article III judicial power’ and (2) ‘the resultant
value of such information to those monitoring the federal courts.”’ I_d_., citingq Luuoschq 435 F.3d
at 119~20.

Here, defendants seek to file a motion to dismiss, or, in the alternative, to compel
arbitration They seek to rely upon the numerous settlement agreements between the plaintiffs
and defendants Thus, Without question, the documents are judicial documents

ln addition to a common law presumption of access, “the First Aniendment provides the
public and the press a constitutional right of access to-all trials, criminal or civil,” including
“related proceedings and records” in order to “protect the public against the government’s
arbitrary interference With access to important information.” Under Seal, 273 F.Sunp.3d at 469,
quoting N.Y. Civil Liberties Union v. N.Y.C. 'l`ransit Auth., 684 F._3d 286, 298 (2d Cir. 2012);
Hartford Courant Co. v. Pellegrino, 380 M 83, 91 (2d Cir. 2004) (the public and press have a
“qualified First Amendment right to attend judicial proceedings and to access certain judicial

documents.”).

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Defendants’ efforts must fail. “[D]ocuments filed in relation to a motion ‘are judicial
documents to which a presumption of immediate public access attaches under both the common
law and the First Amendment.”’ Under Seal, 273 17 .Supp.?)d at 470, thing L_ugM, 435 F.3d
at 126. in Under Seal, the court denied defendant’s motion for a preliminary injunction seeking
to prohibit plaintiff from breaching the confidentiality provision of a Collaboration Agreernent
during the pendency of a sealing order, and unsealed the entire case, including the complaint and
all other filingsl id

lt is clear that when the defendant seeks to deny plaintiffs their right to a public jury trial
through a dispositive motion, that adjudication is a “formal act of government, the basis of which
should, absent exceptional circumstance, be subject to public scrutiny.” l_d_., Lp_t_ir_ig lgly_.
No_rth, 692 E.2_d 880, 893 (2d Cir. 1982). When the First Amendrnent right of access is
involved, as it is here, “[t]he weight of this presumption is My, for the documents are
pleadings and motion-related filings that are essential to adjudication.” I;l.

As recently explained by the court in Hardv v. Kaszycki & Sons. 2017 WL 6805707
(S.D.N.Y. Nov. 21, 2017), in releasing a previously sealed class action settlement agreement and
related documents entered into decades earlier, involving demolition workers Who cleared the
site to build Trump Tower, the court found that the documents had alstrong presumption of
access:

With respect to the Settlement Transcript and plaintiffs’ brief, the
Bernstein Court further explained that “[t}he locus of the inquiry is, in
essence, Whether the document is presented to the court to invoke its
powers or affect its decisions.” Bernstein, 814 Bat 142 (internal
citation and quotation omitted). Applying this standard, the Court finds

that the Settlement Transcript and plaintiffs’ brief are entitled to a strong
presumption of access The documents directly invoke-or provide a

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record of the parties’ arguments to invoke-the district court’s exercise of
its Article 111 power: namely, the approval of a class action settlement
pursuant to Rule 23 (e). w United States v. Amodeo, 71 F.3d 1044, 1049
(2d Cir. 1995) (“Amodeo 11”)(stating that “the weight to be given the
presumption of access must be governed by the role of the material at issue
in the exercise of Article ill judicial power and the resultant value of such
information to those monitoring the federal courts.”).

Id., 2017 W_L 6805707 at *3(emphasis added) (attached).

I-Iere, there is no doubt that the settlement agreements on which defendants rely in their
motions are “judicial documents” to which the public has presumptive access under the common
law and First Amendment. 'fhe Second Circuit has ruled that settlement agreements - even ones
in which the parties request confidentiality ~ are judicial documents which should not be sealed.
Parties’ requests for confidentiality do not trump the presumptive public access under common
law and our Constitution. ln Bernstein v. Bernstein Litowitz Berger & Grossmann LLP, 814
F.3d 132 (2d Cir. 2016), the Second Circuit upheld the district court’s unsealing of an attorney-
whistleblower’s complaint against his former employer that had been subsequently settled on a
confidential basis against the law firm and five partners ln so holding, the Second Circuit held
that “pleadings _even in settled cases - are judicial records subject to a presumption of public
access” under both the common law and the First Amendment. E., at 140.

Similarly, even information and documents involving third-parties submitted in
connection with dispositive motions are, as a matter of law, judicial documents to which a strong
presumption of access attaches under both the First Amendment and common law. LLle v. JP
Morgan Chase, 810 F.Supp.Zd 616, 621 (S.D.N.Y. 2011)(denying employer’s request to seal

information/documents in connection with summary judgment papers in a discrimination case,

including identities of other employees investigated by defendant, names of other employees and

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independent contractors interviewed, contact information and other information regarding third
parties).

Even where the parties are in agreement to seal portions of the court’s file containing
confidential settlement agreements and other documents the court may deny such motions given
the importance of public access to judicial documents ln Colony Ins. Co. v. Burke, 698 F.3d
1222, 1242 (10&' Cir. 2012), the court denied on appeal both parties’ motions to seal confidential
settlements since “the parties themselves placed these settlements at the center of this
controversy, in particular through the Estate"s garnishment counterclaim and Colony"s summary
judgment motion on that counterclaim.” ln so doing, the court “recogniz[ed] that preserving the
confidentiality of settlement agreements may encourage settlement, and that denying a motion to
seal may chill future settlement discussions,” but “we are not convinced that the parties’
interests in keeping the terms of their agreements confidential outweighs the public interest in
access particularly in light of the centrality of these documents to the adjudication of this case.”
E. at 1241. Here, the settlement agreements are central to defendants’ motion seeking this Court
Order denying plaintiffs their day in Court through dismissal of their claims, or, failing that,
forcing them into a secret arbitration proceeding

'i`he public’s right of access to judicial documents was stressed in U.S. v. Erie Coung,
New York, 763 F_.3_d__ 23 5, 243 (2d Cir. 2014). In that case, the Second Circuit held that a civil
rights’ organization had the right to see compliance reports prepared pursuant to a settlement
agreement between the DOJ and Erie County regarding inmates’ constitutional rights to safe and
sanitary conditions In overturning the District Court’s ruling that the reports should be sealed,

the Second Circuit held that they were unquestionably “judicial documents” since the court relied

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upon them in monitoring compliance with the settlement agreement ida at 243. See also
Grvnberg v. BP P.L.C. 205 F.Supp.3d 1, 3-4 (D.C. 2016)(refusing to seal confidential
settlement agreements and other exhibits in connection with Rule 60 relief from judgment
motion where oil company failed to show any prejudice from disclosure and public had right of
access to such judicial documents).
Similarly, in Bank of America Nat. Trust and Savings Assn. v. Hotel Rittenhouse
Associates, 800 F.2d 339 (3d Cir. 1986), the Third Circuit reversed a district court’s denial of a
motion by a contractor to unseal motions and settlement agreement papers filed in litigation
between a bank and a developer. lt cogently explained how the once confidential settlement
papers could no longer be kept secret:
ln the name of encouraging settlements ludge Garth [the dissentj would
have us countenance What are essentially secret judicial proceedings We
cannot permit the expediency of the moment to overturn centuries of
tradition of open access to court documents and orders Having
undertaken to utilize the judicial process to interpret the settlement
and to enforce it, the parties are no longer entitled to invoke the
confidentiality ordinarily accorded settlement agreements Once a
settlement is filed in the district court, it becomes a judicial record,
and subject to the access accorded such records

l_d., at 345(emphasis added).

Accordingly, the settlement agreements at issue here and sought to be filed under seal by
defendants are unquestionably “judicial documents” filed in connection with a motion that the
public has a strong presumption of access to under both the common law and First Amendment.
Simply because they are allegedly confidential does not give them any special consideration

when it comes to the issue of sealing, especially since these settlement agreements have already

been widely reported in the media. See. e.g., Wells Fargo Bank. N.A. v. Wales LLC, 993

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F.S upp_ 2d 409, 414 (S. D ..N Y. 2014) (agreernent’s s“confidentiality clause is not binding here,
given the public’s right of access to ‘judicial documents”’) and Ashmore v. CGI Grp. lnc., 138
F.Supp.§§d 329, 35l (S.D.N.Y. 2015) (allegations of vague potential harm insufficient to
outweigh the strong presumption of access given that much of the information sought to be
redacted had already been publicly disclosed).
CONCLUSION

Plaintiffs respectfully request that Defendants’ unsupported request to seal documents on

Which they rely in their motions be denied in its entirety.

SMETH MULLlN? P.C.
Attorneys for Plaintiffs

 

BY; di ""“~»~ '
ivan MULin\I (NM6020)

 

Dated: March 20, 2018

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l'+ardy v. Kaszycki & Sons, S|lp Copy {2017)

2017 WL 6805707
Only the Westlaw citation is currently available
United States District Court,
S.D. New York.

HARDY, et al., Plaintiffs,
v.
KASZYCKI & SONS, et al., Defendants.

83-cv-6346 (LAP)

|
Signed 11/21/2017

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Opiuion

Mernorandum & Order

LORETTA A. PRESKA, Senior United States District
Judge

*l Befcre the Court is a request by non-parties Time Inc.
and the Reporters Comrnittee for Freedom of the Press
(“l\/lovants”) to unseal certain documents relating to the
settlement of this case. (@ Letter from Andrew Lachow,
July lZ, 2016, ECF No. 415). Donald J. Trump, the
Trump Organization, and Truinp-Equitable Fi&h Avenue
Company {the “Trurnp Parties”) filed a letter in
opposition (Letter nom Lawrence Rosen, Aug. 12, 2016,
ECF No. 420).

On August 26, 20l6, the Court denied Movants’ request
(Order, Aug. 26, 2016, ECF No. 425)(Griesa, J.).
l\/lovants Subsequently appealed On July 6, 20l7, the
ssss_sf retreat rented the Order and,,r¢nns¢tu¢

 

 

case, instructing the Court to balance the presumption of
public access to courts under the common law and First
Amendment against countervailing interests (Mandate,
July 6, 2017, ECF No. 430).

On lune 29, 2()l7, Lewis M. Steel, one of the lawyers
who had represented the plaintiffs, filed a letter indicating
that Wendy Sloan had retained two of the documents that
Movants Seek to unseal, which both the Court and Court
of Appeals had presumed to be lost (Letter from Lewis
M. Steel, lime 29, 2017, ECF No. 429). l\/lovants and the
rl`rump Parties subsequently filed supplemental letters
(Movant’s Letter, Aug. 22, 2017, ECF No. 436; Trurnp
Parties’ Letter, Aug. 22, 20l7, ECF No. 437).

For reasons explained below, the Court finds that the
ri`rurnp Parties have failed to identify any interests that
can overcome the common law and First Amendment
presumptions of access to the four documents at issue.

I. Bacl<ground

As the Court of Appeals explained, (Mandate at 3), in
1983, a member of the demolition-workers union filed a
class action against various parties involved in
demolishing the Bonwit Teller building, which was torn
down to build Trump Tower. The class members settled
with the various defendants in 1998, and the Court sealed
four documents connected to that settlement (1) a
transcript of an October 26, l998 conference (ECF No.
409) (the “Settlement Transcript”); (2) a plaintiffs’ brief
filed on November 9, 1998, (ECF No. 410); (3) a district
court order approving the settlement dated December 30,
1998, (ECF No. 411); and (4) an amended district court
order approving the settlement dated February 9, 1999
(ECF No. 412). (l_d_. at 3-4).

Il. Presumption of Access

There are “two related but distinct presumptions in favor
of public access to court proceedings and records: a
strong form rooted in the First Amendment and a slightly
Weaker form based in federal common law.” Newsday
_l,LC v. Cty. of Nassau, 730 F.3d l56, 163 (2d Cir, 2013).
The Court of Appeals determined that the presumption of
access applies to the two court orders under both the
common law and the First Arnendrnent. (Mandate at 5~6).
However, the Court of Appeals did not address the
Settlement Transcript or plaintiffs’ brief, records of which
were discovered only after the Mandate was issued A
discussion of these two documents follows

 

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a. Common Law Presumption of Access

*2 The common law presumption of access attaches to all
“judicial documents.” Lugosch v. Pvramid Co. of
Ono_ndaga, 435 F.3d llO, 119 (2d Cir. 2006). The Court
of Appeals has defined “judicial documents” as
documents that are “relevant to the performance of the
judicial function and useful in the judicial process.”
United States v. Amodeo, 44 ff".3d l4l, l45 (2d. Cir.
1995) (“Amodeo l”). ln determining whether a document
is a judicial document, a court must evaluate “the degree
of judicial reliance on the document in question and the
relevance of the document’s specific contents to the
nature of the proceeding” and “whether access to the
[document] would materially assist the public in
understanding the issues before the court, and in
evaluating the fairness and integrity of the court’s
proceedings.” Newsday, 730 F.Bd at 166»~67.

The Court notes that Hardy was a class action subject to
Federal Rule of Civil Procedure 23(€). Rule 23(e) requires
the district court’s approval before “[t]he claims, issues,
or defenses of [the] certified class” can be settled Fed. R..
Civ. P. 23(e). Furthermore, “lt]he parties seeking
approval must file a statement identifying any agreement
made in connection with the [settlement§ proposal,” and
“[i]f the [proposed settlement] would bind class members,
the court may approve it only after a hearing and on
finding that it is fair, reasonable, and adequate.” l_d. at
23(e)(2)-(3). Accordingly, Rule 23(€) requires judicial
approval of class action settlements and requires the
district court to evaluate substantively the terms and to
“be satisfied of the fairness” of any settlement proposal
before approving it. lanes Films lnc. v. Miller, 801 F.Zd
578, 582 (Qd Cir, 5986).

 

The hearing contemplated by Rule 23(€) occurred on
0ctcber 26, 1998, and is reflected in the Settlement
Transcript. Shortly thereafter, in early November 1998,
the class plaintiffs filed a brief arguing that the settlement
should be approved The district court later approved the
settlement in the two orders at issue. In other words, the
Settlement Transcript and the plaintiffs’ brief reflect the
information and arguments the parties presented to the
district court in order to persuade it to approve the
proposed settlement of the claims in the certified class
pursuant to Rule 23(e)_

A district ccurt’s approval of a class action settlement
pursuant to Rulc 23(e) is a quintessential exercise of
judicial power S£q ln re Scptember ll Litig., 723 fF.
Supp. 2d 526, 532-33 (S.D.N.Y. 2010)(stating that a

   

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motion for approval of a settlement “invol<es [the court’s]
Article IIl power”). “Any document reflecting the terms
of the settlement and submitted to the Court is a judicial
document’ to which the presumption of access likely
applies.” Xue Lian lain v. Compreh.ensive llealth l\/l`gmt.

§i}g,_, 2009 7WL 2223063, at *l (S._D.N.Y. luly 23, 2009)
(citing Lugosch, 435 F.3d at 119-20). l\/loreover,
“[d]ocuments created by or at the behest of counsel and
presented to a court in order to sway a judicial decision
are judicial documents that trigger the presumption of
public access.” Schiller v. Citv of New York, 2006 WL
2788256, at l‘5 {S.D.N.Y. Sept. 27, 2006). Accordingly,
the Settlement 'l`ranscript and the plaintiffs’ brief are
“relevant to the performance of the judicial function and
useful in the judicial process” and are therefore subject to
the common law presumption of access Amodeo l, 44
F.3d at 145.

 

i. Comrnon Law Weight ofthe Presurnption Analysis

Once a district court has determined that the common law
presumption of access attaches, it must determine the
weight of the presumption bugosch, 435 F.Bd at l 19. The
Court of Appeals held that the strength of the common
law presumption of public access as it applies to the two
court orders is “middling.” (Mandate at 5). The Court of
Appeals reasoned that the two documents are closely tied
to the exercise of judicial power, but that “the very
strongest presumption is reserved in civil cases for
documents ‘used to determine litigants’ substantive legal
rights.’ ” (Ld)(quotmg Bernstein v. 7l?»ernstein Litowitz
Berger & Grossman LLP, 814 l~`.3d 132, 142 (Zd Cir.
2016)).

*3 With respect to the Settlement Transcript and
plaintiffs’ brief, the Bernstein Court further explained that
“[t]he locus of the inquiry is, in essence, whether the
document is presented to the court to invoke its powers or
affect its decisions.” Bernstein, 8l4 F.3 at 142 (internal
citation and quotation omitted). Applying this standard,
the Court finds that the Settlernent Transcript and
plaintiffs’ brief are entitled to a strong presumption of
access. The documents directly invoke-or provide a
record of the parties’ arguments to invoke-the district
court’s exercise of its Article III power: namely, the
approval of a class action settlement pursuant to Rule
23(€). § United States v. Amodeo, 71 F.Bd 1044, l049
(Zd Cir. 1995) (“Amodeo Il”)(Stating that °‘the Weight to
be given the presumption of access must be governed by
the role of the material at issue in the exercise of Article
lll judicial power and the resultant value of such
information to those monitoring the federal courts.”).

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in addition, the weight of the presumption is further
strengthened by the public’s interest in obtaining access to
records from a class action lawsuit to which the
now-President of the United States was a party. §
Bernstein v. `Bernstein Litowitz Berger & Grossrnan.n
`_liL£ 3]4 F.3d l32, 143 (Zd Cir. 2016_) (considering the
public’s interest in the subject matter of a civil complaint
in determining weight of the presumption of access). The
President’s involvement in the Hardy litigation is of
legitimate interest to the public, and the Court’s
determination of the weight of the presumption of access
may not ignore this “broader context.” Lugoscli, 435 F.Iid
at 113, §23 n.5 (rejecting district court’s conclusion that
public interest in a “dispute among business partners” did
not add weight to presumption of access, noting the
“broader context” of the case, i.e., that defendants were
“lobbying the state legislature and the governor to obtain
preferred treatment in connection with a business
endeavor that [was] similar to those at issue in this
case.”). Accordingly, the Court finds that the weight of
the presumption in favor of access to the Settlement
Transcript and plaintiffs’ brief is particularly strong.

The Trump Parties rely on Gambale v. Deutsche Bank
fagg 377 F.Bd 133, l43-l44, 145 n.£ (2d Cir. 2004), for
the proposition that settlement information disclosed
during “a relatively informal conference” and made based
on the court’s “assurances of confidentiality” created only
a “wea ” presumption of access (Trump Parties’ Letter at
2). But in that case, the parties entered into a settlement
agreement that was not made “part of the court record.”
Gambale, 377 F.Bd at 143. Further, the settlement
documents “were not filed with the court and were not the
basis for the court’s adjudication.” Ld_g. Nevertheless, at a
conference, the trial court “insisted on learning the
settlement amount,” which one of the parties then
disclosed “based on what it may have thought were
assurances of confidentiality.” The Court of Appeals held:

[T]he presumption [of access]
was a weak one under these
circumstances: The amount of the
settlement was confidential, the
parties articulated the reasons for
such confidentiality, and the
amount made its way into the
transcript only in response to the
court’s apparently casual
questioning of counsel in the
course of proceedings addressing
the settlement, not the adjudication,
of litigationl

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EL Here, by contrast, documents reflecting the terms and
conditions of the settlement were made part of the court
record because the district court was required to review
and approve the settlement terms under Rule 23(e). in
addition, based on the Court‘s review of the Settlement
Transcript, the parties did not articulate the reasons for
confidentiality Accordingly, Gambale is inapposite in
determining the weight of the common law presumption
of access.

b. First Amendment Presumption of Access

*4 The First Amendment presumption of access applies to
“particular types of judicial documents.” H_artford
Courant Co. v. _Pellegrino, 380 F.Bd 83_, 91 (2d Cir.
2004)(“Pellegrhro”). The Court of Appeals has
“articulated two different approaches for determining
whether” the constitutional presumption applies Lugosch,
435 F.3d at 120. rl"he first approach-the “experience and
logic” test_looks to “whether the documents ‘have
historically been open to the press and general public’ and
whether ‘public access plays a significant positive role in
the functioning of the particular process in question.’ ” fail
at l20 (quoting Pellegrino, 380 _F.Bd at 92). “The second
approach considers the extent to which the judicial
documents are ‘derived from or [are} a necessary
corollary of the capacity to attend the relevant
proceedings.’ ” I_d. (quoting Pellegrlno, 380 il.3d at 93).

i. Experience and Logic Test

With respect to the “experience and logic test,” the
Settlement Transcript and plaintiffs’ brief satisfy the
experience prong because they are judicial records subject
to the common law presumption of access § Pcliegrino,
380 F.3d at 92 (noting that courts “have generally invoked
the common law right of access to judicial documents in
support of finding a history of openness”). As for the
logic prong, access to the Settlement Transcript and
plaintiffs’ brief “plays a significant positive role” in
monitoring judicial approval of the class action settlement
because the documents contain the terms of the proposed
settlement, as well as the arguments presented to the
district court in seeking its approval l_d_. Members of the
public are not able to evaluate a court’s decision to
approve a settlement without knowing its terms and the
arguments presented to support it. B in re Septcmber 11
Bg., 723 F. Supp. 2d at 531 (holding that First
Amendment and common law presumptions of access

 

 

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apply to information contained in a motion to approve a
settlement and explaining that the sealed information was
“central to the parties’ settlement and [the court’s}
decision on their motion for approval.”). Accordingly, the
logic prong is satisfied, and the Court finds that the
constitutional presumption applies to the Settlement
Transcript and plaintiffs’ brief under the experience and
logic test.

ii. Necessary Corollary Test

The First Arnendment presumption of access also applies
to the Settlement Transcript under the necessary corollary
test. As noted above, Ruie 23(e) requires a “liearing” prior
to the judicial approval of a class action settlement The
Court of Appeals has instructed that before a class action
settlement “can result in judicial ratification or rejection,
there must be a proceeding in open court, and the
document sought to be acted upon by the judicial power
will be placed on file and must become a public record_”
United States v. Glens Falls Newspapers Inc., 160 li`.3d
853, 857 {Zd Cir. l993)(emphasis added). Accordingly,
the public has a presumption of access under the First
Amendment to the Settlement Transcript that is derived
from the public’s capacity to attend the October 26, 1998
proceeding S_e_e Lugosch, 435 F.Bd at ]_20.

III. First Amendment Balancing

Because the Court has determined that the “more
stringent” First Amendment analysis applies, continued
sealing of the documents must be supported by “specific,
on-the-record findings that sealing is necessary to
preserve higher values and only if the sealing order is
narrowly tailored to achieve that aim.” Lugosch, 435 li.Sd
at 124. “Broad and general findings by the trial court,
however, are not sufficient to justify closure.” in re New
Yorl< Times Co., 828 `F.Zd llO_, 116 (Zd Cir. 1987). Courts
have found that cases in which disclosure would “reveal
details of an ongoing investigation, pose a risk to
witnesses, endanger national security, or reveal trade
secrets” may constitute an interest that warrants sealing
Bernstein, 814 F.3d at 143. l-Iowever, the Trump Parties
have not contended that any such interest exists in this
case.

*5 Rather, the Trump Parties argue that the “higher
values” that would be protected through continued sealing
of the documents at issue include (l) the general interest
in maintaining settlement agreements and (2) the parties’
reliance on the fact that the settlement agreement would

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not be made public. (Trump Parties’ Letter at 2).

However, a general interest in promoting the settlement of
cases does not justify sealing judicial records under the
First Amendment. w I_n re Septemt)er ll Litig., 723 ii
Supp. 2d at 532-33 (“The interest in furthering settlement
does not outweigh the strong common law and
constitutional presumptions of public access that attaches
to information bearing directly on my adjudication.”).
Furthermore, the Court of Appeals for the Third Circuit
has noted that the “generalized interest in encouraging
settlements does not rise to the level of interests that we
have recognized may outweigh the public’s common iaw
right of access,” _s_ee .Bani< of Amer. Nat’l Trust & Savings
Ass’n v. Hotcl Ritten.house Assocs. 800 F.Zd 339, 346
(3d Cir. l986), much less the more demanding First
Arnendment right of access.

The Trump Parties rely on Schoeps v. Museurn of Modern
”jAWr_t to argue that promoting settlement agreements
overcomes the presumption of access on the basis of the
Court’s explanation that the “Second Circuit strongly
endorses the confidentiality of settlement agreements in
virtually all cases.” 603 F. Supp. 2d 673, 676 (S..D.N.Y`.
2009). However, Schoeps itself relied principally on
Glens Falls Newspapers, Inc. a case that concerned only
preliminary settlement materials with respect to which “
‘the presumption of public access is very low or
nonexistent under either constitutional or common law
principles.’ ” 160 F‘.Bd at 855 (quoting opinion of the
district court). The Court of Appeals noted that “access to
settlement discussions and documents has no value to
those monitoring the exercise of Article HI judicial power
by the federal courts ibecause] it]he judge cannot act
upon these discussions or documents until they are final.”
id at 857. However, while draft settlement materials were
to remain under seal, the final settlement would be subject
to “a proceeding in open court, and the document sought
to be acted upon by the judicial power will be placed on
file and must become a public record.” I_d.

Here, the documents at issue are not incidental settlement
discussions but rather were relied upon by the Court in the
exercise of its Article IIl powers Accordingly, the Trurnp
Parties’ reliance on Schoeps and Glens Falls Newspar)ers,
anc.“ is misplaced

The Trump Parties also claim that their “reliance” on the
fact that the settlement terms and agreement would not be
made public is a higher value sufficient to defeat the right
of access, because it “gave the parties a level of certainty
and confidence that the settlement would remain
confidential in virtual perpetuity.” (Trump Parties’ Letter
at 2).

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However, the Trump Parties’ reliance on a sealing order
does not overcome the First Amendment presumption of
access. w in re Septernber ll lsitig., 723 F-. Supp. 2d at
532 (noting that “the court must be skeptical” of claims
that settlement might not have occurred without a
condition of confidentiality, “for ‘if the case goes to trial,
even more is likely to be disclosed’ ”) (quoting Pansy v.
Borough of Stoudsbmgj 23 F.Sd 772, 788 {3d Cir. l994)
(internal quotation marks omitted)). When Hardy settled,
the case had been pending for more than fifteen years and
had already been tried once and reversed, necessitating a
retrial. E llardv v. l§aszvcki & Sons Co_ntractorsr lnc..
870 F. Supp. 489, 49£, 492-93 (S.D.N.Y.
_§_994)(comparing Hardy to the fictional and interminable
legal proceedings in Jarndyce v. Jarndyce). The Trump
Parties previously represented to the Court that, aHer so
many years of litigation, the parties had reached
“amicable terms” for settlement “without Court
intervention”imaking clear that the Trump Parties did
not rely on assurances of confidentiality on the part of the
district court to reach a settlement (W Letter from
Lawrence Rosen, Aug. l2, 2016, ECF No. 420); United
States v. Erie Cty'., 763 F.Bd 235_, 243 (Zd Cir.
2014)(rejecting argument that the _First Arnendment
presumption of access was overcome by need for “frank,
and hence confidential, discussions among the parties”
because settlement of the case had “already been
reached"’).

*6 Finally, the Trump Parties’ reliance argument is
particularly inapposite in the context of a class action
settlement Under _Ruie 23(e), a court must hold a hearing
in open court on the subject of the proposed settlement,
and the motion for approval of the settlement must be
filed publicly §§ Glens Falls Newspapers, lnc., l60 F.Sd
at 857. The Trump Parties cannot have a reliance interest
in the confidentiality of the settlement agreement
sufficient to overcome the First Amendment right of
access where they were already required by the Federal
Rules of Civil Procedure to disclose publicly the terms of
the settlement agreement

Accordingly, the Court finds no interests that can
overcome the First Amendment presumption of access to
the two court orders, the Settlement Transcript, and the
plaintiffs’ brief.

IV. Common Law Balancing
Because the sealing of the records at issue cannot be
justified under the First Amendment framework, the
Court need not address the common law presumption of
less stringent

  

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framework, the Court would find that all of the records at
issue should be unsealed pursuant to the common law.

Under the common law, sealing must “be supported by
specific findings” that “the interests favoring non-access
outweigh those favoring access.” Amodeo I, 44 F.3d at
l48. The burden is upon the parties opposing access “to
demonstrate that the interests favoring non~access
outweigh those favoring access.” I_d.

As described above, the Court of Appeals concluded that
the weight of the common law presumption as applied to
the two of court orders is of middling strength, and the
Court has now found that the weight as applied to the
Settlement Transcript and plaintiffs’ brief is particularly
strong

The Trump Parties again rely on a generalized interest in
promoting settlement and their reliance on the
settlement’s confidentiality as countervailing interests that
outweigh the right of access under the common law.
(Trump Parties’ Letter at 2). However, the generalized
interest in promoting settlement does not outweigh the
public’s common law right of access. E ln re Septemi)er
M, 723 F. Supp. 2d at 532; Bank of Amer. Nat’i Trust &
Savings Ass’n, 800 F.Zd at 346.

Furthermore, the Court does not find that reliance on the
Court’s sealing order is a sufficiently compelling
countervailing interest where the parties did not rely on
assurances of confidentiality by the Court in reaching a
settlement The Trump Parties cite LEAP Systems, lnc. vl
l\/.loneyrl`rax, lnc.1 638 F.3d 2l6_, 222 (3d Cir. 2011), a
Third Circuit case stating that “LEAP’s reliance on the
District Court’s assurances of confidentiality entirely
reasonable and sufficient to outweigh the public’s
common law right of access.” (Trump Parties’ Letter at
2). However, LEAP Systems, Inc. also found that the
district court’s sealing order for settlement agreements
was appropriate where the parties “would not have
entered into the Settlement agreements but for the Court’s
assurance of confidentiality.” 638 _F.3d at 222 (emphasis
in original). As indicated above, M at 14, the Trump
Parties indicated that the parties were able to reach a
settlement without relying on assurances from the Court
that the settlement would remain confidential
Accordingly, LEAP Systems, Inc. provides no support for
the assertion that the 'l`rump Parties’ reliance interest in
confidentiality is sufficient to outweigh the common law
presumption of access, even if it is only of middling
strength The Trump Parties cite no other precedent in
support of their reliance argument

 

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V. Attorneys’ F`ees
* 7 The Trump Parties also request that if the Court
decides to unseal any portion of the four documents at
issue that it redact the amount that was paid to plaintiffs
counsel in legal fees. (Trurnp Parties’ Letter at 3). They
state, “those amounts are wholly irrelevant to the
performance of the Court’s Article III functions....”

As discussed earlier, Rule 23(e) requires the district court
to approve a proposed class action settlement only “after a
hearing and on finding that it is fair, reasonable, and
adequate.” Fed. R. Civ. 7P. 23(€). A proposed settlement in
a class action may include an amount to be paid in
attorneys’ fees. Similar to other proposed terms and
conditions of the settlement, a district court may not
approve an award of attorneys’ fees in a proposed class
action settlement agreement tha “exceed[s] what is
‘reasonable’ under the circumstances.” Goldberger v.
integrated Resourees, lnc., 209 F.lld 43, 47 (2d Cir. 2000)
(citing Brown v. Phillips Petroieum Co. 838 F.Zd 451,
455 (l()th Cir. 1988}; Savoie v. l\/.ierchants Bank, 166 F`.3d
456, 460 (Zd Cir. 1999)). “What constitutes a reasonable
fee is properly committed to the sound discretion of the
district court.” Goldberger, 209 F.3d at 47 (citing l(irscii
v. Fleet Street Ltd_.1 148 F.3d _149, 172 (2d Cir. 1998)).

 

To make a determination as to what amount is
“reasonable[ ] and reasonably necessary for the litigation”
in awarding attorneys’ fees, a district court may look to
information that the party seeking the award of fees has
provided, such as “(l) the time and labor expended by
counsel; (2) the magnitude and complexities of the
litigation; (3) the risk of the litigation ...; (4) the quality of
representation; (5) the requested fee in relation to the
settlement; and (6) public policy considerations” in
making a reasonableness determination Goldberger, 209
F.Bd at 50 (quoting ln re Union Carbide Corp. Consumer
Prod. Bus. Sec. Litig., 724 F. Supp. 160, 163 (S.D.N.Y.
1989)).

 

Information relating to plaintiffs’ attorneys’ fees in the
course of this litigation, including plaintiffs’ attorney’s
qualifications, the type of work performed throughout the
course of the litigation, and the rates that plaintiffs’
lawyers charged constitutes a significant amount of the
information in plaintiffs’ brief. The plaintiffs provided
this information for the purpose of allowing the court to

 

determine that the amount plaintiffs’ attorneys sought in
fees was “reasonable.”

As discussed earlier, a court’s review of a proposed
settlement agreement in a class action invokes its Article
III powers. §_e;e_ In re Septelnber ii l_.it_ig., 723 F. Supp. 2d
at 532-33 (stating that a motion for approval of a
settlement “invokes [the court’s] Article lIl power”).
Here, the court’s review included an assessment of the
amount that the plaintiffs and Trump Parties proposed be
paid towards plaintiffs’ attorneys’ fees in connection with
the settlement agreement Therefore, the information in
the plaintiffs’ brief and the Settlement Transcript
pertaining to the amount that the Trurnp Parties paid to
the plaintiffs’ lawyers in legal fees is not “wholly
irrelevant” to the Court’s Article III powers The Trurnp
Parties have not offered any other reason why such
information should not be revealed in the event of
unsealing, and therefore the Trump Parties’ request to
redact this information is denied.

VI. Conclusion

*8 Movants’ request to unseal (l) the Settlement
Transcript (dkt. no. 409); (2) the plaintiffs’ brief filed on
November 9, 1998 (dl<t. no. 410); (3) the district court
order approving the settlement dated December 30, 1998
(dkt. no. 4ll); and (4) the amended district court order
approving the settlement dated February 9, 1999 (dkt. no.
412) is GRANTED.

The Clerl< of Court is ORDERED to unseal (l) the
Settlement Transcript (dkt. no. 409); (2) the plaintiffs’
brief filed on November 9, 1998 (dkt. no. 410); (3) the
district court order approving the settlement dated
Decembel‘ 30, 1998 (dkt. no. lill); and (4) the amended
district court order approving the settlement dated
February 9, 1999 (dkt. no. 412).

SO ORDERED.

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